Case 2:11-cr-20066-RHC-EAS ECF No. 78, PageID.147 Filed 08/03/12 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,

             Plaintiff,
                                               Case No. 11-CR-20129
vs.
                                               HON. ROBERT H. CLELAND
SCOTT SUTHERLAND, ET AL.,

             Defendants.

and


UNITED STATES OF AMERICA

             Plaintiff,                        Case No. 11-CR-20066

                                               HON. ROBERT H. CLELAND

JEFF GARVIN SMITH ET AL.,

                                          /


                          ORDER SETTING STATUS CONFERENCE

         On July 13, 2012 a Third Superseding Indictment was unsealed in case

11-20129 adding 37 defendants. On the same date another Indictment was unsealed in

case 11-20066 with 11 defendants, ten of whom are charged in both cases.

      The Court will conduct an in person status with the attorneys only on

Wednesday, August 22, 2012 at 2:00 p.m. Counsel of record for the Government,

counsel of record for the defendants and a representative from the Sixth Circuit Case

Budgeting Office are ordered to attend.
Case 2:11-cr-20066-RHC-EAS ECF No. 78, PageID.148 Filed 08/03/12 Page 2 of 2




        IT IS ORDERED that all deadlines are suspended pending the outcome of the

Status Conference. All future dates and trial will be scheduled at that time to be

determined by the court and counsel.

                                         S/Robert H. Cleland
                                        ROBERT H. CLELAND
                                        UNITED STATES DISTRICT JUDGE


Dated: August 3, 2012


I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, August 3, 2012, by electronic and/or ordinary mail.


                                         S/Lisa Wagner
                                        Case Manager and Deputy Clerk
                                        (313) 234-5522
